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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

   BECKMAN COULTER, INC.,

                     Plaintiff,
                                                     Case No. ___________________________
   v.
                                                     JURY TRIAL DEMANDED
   SYSMEX AMERICA, INC. and
   SYSMEX CORPORATION,

                     Defendants.


                        COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff, BECKMAN COULTER, INC. (“BCI”), by and through its undersigned counsel,

  alleges as follows for its Complaint for Patent Infringement against Defendants, SYSMEX

  AMERICA, INC. and SYSMEX CORPORATION (collectively, “Sysmex”).

                                   NATURE OF THE ACTION

         1.     This is a patent infringement action to stop Sysmex’s infringement of United States

  Patent No. 6,581,012, entitled “Automated Laboratory Software Architecture” (the “’012 Patent”).

  A true and correct copy of the ’012 Patent is attached hereto as Exhibit “A.” BCI is the owner by

  assignment of the ’012 Patent. The ’012 Patent describes and claims an integrated clinical

  laboratory system with integrated work flow automation programming for testing specimens. BCI

  has owned the ’012 Patent throughout Sysmex’s infringing acts and still owns it.

                                             PARTIES

         2.     BCI is a Delaware corporation having its principal place of business in Brea,

  California.

         3.     BCI is an industry leader in diagnostics and equipment for biomedical research and
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  testing. BCI’s technologies improve the productivity of medical professionals and scientists,

  supplying critical information for improving patient health and delivering trusted solutions for

  research and discovery. BCI’s technologies are used in thousands of hospitals and laboratory

  facilities worldwide.

         4.      Sysmex America, Inc. is a Delaware corporation having its principal place of

  business at 577 Aptakisic Road, Lincolnshire, Illinois 60069.

         5.      Sysmex Corporation is a Japan corporation having its principal place of business at

  1-5-1 Wakinohama-Kaigandori, Chuo-ku, Kobe 651-0073, Japan.

         6.      On information and belief, Sysmex America, Inc. is, at least, an agent of Sysmex

  Corporation in connection with certain of the activity described below.

         7.      Sysmex states on its website that “Sysmex America, Inc. in Lincolnshire, Illinois,

  is the US headquarters for Sysmex Corporation based in Kobe, Japan.”

         8.      As explained herein, Sysmex’s infringement has harmed BCI. Without

  authorization, Sysmex has made, sold, offered to sell, used and/or imported products and services

  that infringe the ’012 Patent.

                                   JURISDICTION AND VENUE

         9.      This action is for patent infringement arising under the patent laws of the United

  States, Title 35 of the United States Code. This Court has jurisdiction over the patent infringement

  cause of action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

         10.     The Court has personal jurisdiction over Sysmex because, on information and

  belief, they have purposefully availed themselves of the privileges of conducting business in the

  State of Florida; they have sought protection and benefit from the laws of the State of Florida; they

  conduct business within the State of Florida; they have caused harm to BCI within the State of




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  Florida; and BCI’s causes of action arise directly from Symex’s contacts and other activities in at

  least the State of Florida.

          11.     Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1400.

          12.     Sysmex has committed acts of patent infringement in this district.

          13.     Sysmex America, Inc. has maintained a regular and established place of business

  in this district, with a physical office at 5721 NW 158th St, Miami Lakes, Florida 33014. Sysmex

  America, Inc. also recently opened an office in Doral, Florida.

          14.     On information and belief, Sysmex Corporation does not maintain any regular and

  established place of business in the United States. Venue is therefore proper as to Sysmex

  Corporation in any district in the United States.

                                          THE ’012 PATENT

          15.     The ’012 Patent issued on June 17, 2003.

          16.     BCI owns the right, title, and interest in the ’012 Patent, with full rights to pursue

  recovery of royalties or damages for infringement of the ’012 Patent, including full rights to

  recover past and future damages.

          17.     Each claim of the ’012 Patent is valid and enforceable.

          18.     The ’012 Patent describes a technical solution to a technical problem. For example,

  specimen analysis and processing systems prior to the ’012 Patent performed only some but not

  all technical aspects of a laboratory work flow. Pre-analytical tasks such as order entry, specimen

  collection and labeling, specimen receipt, specimen sorting, aliquoting, specimen delivery, work

  load balancing, and ordering reflex testing were performed separately from analytical tasks such

  as quality control analysis, analyzer checks, specimen identification, sample analysis, sample

  preparation, and test repeats. Such analytical tasks were, in turn, performed separately from post-




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  analytical tasks such as test data review, result verification, quality assurance analysis, insurance

  claims, results data storage, specimen storage, and specimen retrieval.

         19.     Due to prior technical limitations, no single system existed that seamlessly

  performed the diverse aspects of the laboratory testing process. The invention of the ’012 Patent

  solved this problem through the use of an extensible object-based architecture.

         20.     The programming objects and methods of the ’012 Patent invention permit

  integration between the pre-analytical, analytical and post-analytical aspects of a laboratory

  facility, and further permit automation and increased scalability, which had not been possible due

  to the technical limitations of prior systems.

         21.     As explained in greater detail below, Sysmex provide products and services that

  use the technology claimed by ’012 Patent, and have offered infringing products for sale

  nationwide and in this judicial district, including at least the XN-9000 series of hematology

  analyzer products.

                                    FACTUAL BACKGROUND

         22.     Sysmex offers products and services that are similar to BCI’s products and services.

         23.     Sysmex and BCI both offer medical laboratory diagnostic and analysis equipment,

  such as hematology analyzer systems.

         24.     Sysmex and BCI directly compete for customers and potential customers of medical

  laboratory diagnostic and analysis equipment, including hematology analyzer systems.

         25.     Sysmex manufactures and/or sells a plurality of devices for automated execution of

  blood analyses. These hematology analysis units are sold by Sysmex under the product series name

  “XN Series.” The XN Series includes the products XN-1000, XN-2000, XN-3000, and XN-9000,

  which differ from one another with regard to technical equipment and configuration and the




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  number of specimens that can be analyzed per unit of time.

         26.     The XN-1000 is the basic model of the XN Series and in the basic configuration

  has an XN analysis module of the type XN-10 and a sampler module or sample transportation

  module of the type SA-10, which can accommodate up to five racks with blood samples. The XN-

  1000 is capable of analyzing about 100 blood samples per hour.

         27.     By comparison with the XN-1000, the XN-2000 offers twice the range of functions

  and is equipped with two XN analysis modules and an SA-20 type sampler module for up to ten

  racks. The XN-2000 is capable of achieving a throughput of 200 blood samples per hour.

         28.     In addition to the equipment of the XN-2000, the XN-3000 has a SP-10 type slide

  preparation unit, which provides automated production of blood smears in the context of sample

  preparation. Blood smears produced by the slide preparation unit can then be automatically

  analyzed by one of the XN analysis modules.

         29.     The XN-9000 is the most comprehensive product of the XN Series and is designed

  for a high throughput of blood samples. The basic model of the XN-9000 has at least the same

  equipment as the XN-3000, but is expandable and can be adapted in modular fashion to the specific

  needs of hospitals and laboratories.

         30.     Sysmex advertises that the XN-9000 offers a “Flexible modular design for

  scalability and future expandability” and uses a “Lavender Top Management with Sysmex WAM

  Middleware” such that “Results and specimen management are easily scaled to support a wide

  range of laboratory environments.”

         31.     Sysmex describes the operation of the XN-9000 as follows:

         The XN-9000 takes a whole new approach to hematology automation and offers a
         suite of higher capacity solutions that are both scalable and configurable. If you
         need to integrate workstations to improve turnaround time and labor utilization,
         the XN-9000 can be tailored to meet your requirements. Up to 9 analytical modules



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         may be combined in one integrated system. This configuration can also include
         other automation modules such as the Sysmex SP-10 slidemaker/stainer, automated
         reagent preparation units (Sysmex RU-20), tube sorters, and hemoglobin A1c
         testing modules.

         32.     Sysmex further describes the XN-9000 as offering: “Flexible modular design for

  scalability and future expandability.”

         33.     A sample configuration of an XN-9000 system, as advertised by Sysmex, is

  attached as Exhibit “B.” The configuration includes a slidemaker/stainer (SP-10), two specimen

  analysis modules (XN-10), a specimen transport module, and an information processing unit.

         34.     The XN-9000 is a system for use in all three phases of the analysis cycle for

  specimen material: pre-analytical, analytical and post-analytical processing. Sysmex advertises the

  XN-9000 as an “Option for laboratories desiring hands-free pre- and post-analytical Lavender Top

  Management® (LTM) solution.”

         35.     The XN-9000 system includes an extensible clinical laboratory object-based

  architecture for testing a specimen. The architecture is configured for providing laboratory

  information flow management for pre-analytical, analytical and post-analytical laboratory

  processing.

         36.     The XN-9000 architecture includes a physical element layer that includes at least

  one specimen processing module for performing at least one test on a specimen.

         37.     The XN-9000 architecture includes an integrated work flow automation layer for

  communicating with a specimen processing module. On information and belief, and as will be

  confirmed through an inspection of the XN-9000 source code, the work flow automation layer of

  the XN-9000 architecture includes a set of integrated work flow object classes for performing

  specimen tests, and which include programming objects which can be specialized.

         38.     The XN-9000, through its object-based architecture, processes user requests for



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  specimen tests. On information and belief, and as will be confirmed through an inspection of the

  XN-9000 source code, the workflow automation layer of the XN-9000 architecture includes means

  for processing such requests using structure that is the same as or equivalent to what is described

  in the ’012 Patent specification.

         39.     The XN-9000, through its object-based architecture, provides functional control of

  a specimen processing module. On information and belief, and as will be confirmed through an

  inspection of the XN-9000 source code, the workflow automation layer of the XN-9000

  architecture further includes means for providing such control using structure that is the same as

  or equivalent to what is described in the ’012 Patent specification.

         40.     The XN-9000, through its object-based architecture, processes test result data from

  specimen tests. On information and belief, and as will be confirmed through an inspection of the

  XN-9000 source code, the workflow automation layer of the XN-9000 architecture includes means

  for processing such test result data using structure that is the same as or equivalent to what is

  described in the ’012 Patent specification.

         41.     On information and belief, and as will be confirmed through an inspection of the

  XN-9000 source code, the workflow automation layer of the XN-9000 architecture includes

  published interfaces through which the architecture may be extended.

         42.     The XN-9000 architecture includes an integrated user interface layer for

  communicating with the workflow automation layer to permit a user to control and monitor the

  system.

         43.      The XN-9000 architecture further includes at least one specimen delivery module

  for transporting specimens to and from at least one specimen processing module.

         44.     The XN-9000, through its object-based architecture, controls specimen position,




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  routing and distribution to processing sites. On information and belief, and as will be confirmed

  through an inspection of the XN-9000 source code, the workflow automation layer of the XN-

  9000 architecture further includes means for controlling specimen position, routing and

  distribution to processing sites using structure that is the same as or equivalent to what is described

  in the ’012 Patent specification.

         45.     BCI requested access to the source code for the XN-9000. As of the filing of this

  Complaint, Sysmex has not made its source code available and has not indicated that it will make

  its source code available.

         46.     On October 5, 2017, Sysmex introduced a new product in the United States which

  it denoted as the XN-9100. According to Sysmex, the XN-9100 “provides the same reliable and

  proficient connectivity options as the XN-9000, but with greater customization that saves space

  and maximizes productivity.” On information and belief, the operation of the XN-9000 system

  described in Paragraphs 29 - 44 applies equally to the XN-9100 system.

         47.     All conditions precedent to the filing of this action have occurred, have been

  performed or have been waived.

                 COUNT I – INFRINGEMENT OF U.S. PATENT NO. 6,581,012

         48.     BCI refers to and incorporates herein the allegations of Paragraphs 1-47 above.

         49.     Sysmex have offered infringing products for sale nationwide and in this judicial

  district, including at least the XN-9000 and XN-9100 Automated Hematology System.

         50.     Sysmex have infringed and are still infringing at least claims 1, 14, 15 and 19 of

  the ’012 Patent by making, selling, and using hematology analyzer systems that embody the

  patented invention, including at least the XN-9000 and XN-9100 Automated Hematology System,

  and Sysmex will continue to do so unless enjoined by this Court.




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         51.     Symex’s infringement of the ’012 Patent has occurred with knowledge of the ’012

  Patent and willfully, intentionally and deliberately in violation of 35 U.S.C. § 284. Despite their

  knowledge of the ’012 Patent, Sysmex have not taken steps to avoid infringement.

         52.     BCI has been injured by Sysmex’s ongoing, willful infringement of the ’012 Patent

  and is entitled to recover damages adequate to compensate BCI for infringement of the ’012 Patent.

         53.     BCI has provided notice of the ’012 Patent to Sysmex in compliance with the

  statutory requirement of 35 U.S.C. § 287.

         WHEREFORE, Plaintiff, BECKMAN COULTER, INC., prays that the Court enter

  judgment against Defendants, SYSMEX AMERICA, INC. and SYSMEX CORPORATION as

  follows: (1) Entry of judgment holding Sysmex liable for infringement of the ’012 Patent; (2) An

  Order enjoining Sysmex and its officers, agents, servants, employees, and attorneys, and those in

  active concert or participation with them who receive actual notice of the order granting the

  injunction by personal service or otherwise, from continued acts of infringement of the ’012 Patent;

  (3) An award to BCI of damages against Sysmex for the infringement of the ’012 Patent, together

  with prejudgment and post-judgment interest; (4) Trebling of damages under 35 U.S.C. § 284 in

  view of the willful and deliberate nature of Sysmex’s infringement of the ’012 Patent; (5) An award

  to BCI of its costs and attorney’s fees under 35 U.S.C. § 285; and (6) Such other and further relief

  to BCI, at law or in equity, which the Court may deem proper.

                                          JURY DEMAND

         Pursuant to Fed. R. Civ. P. 38(b), BCI demands a trial by jury for all issues so triable.




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        Respectfully submitted this 3rd day of November, 2017.

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